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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:09-cr-00290
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
CHEYENNE BILLIE TRICE, SR.,         )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 14, 2010, after receiving the written consent of defendant and all counsel. At the

hearing, defendant Cheyenne Billie Trice, Sr. entered a plea of guilty to a Superseding Felony

Information in exchange for the undertakings made by the government in the written plea agreement.

In the Superseding Felony Information, defendant is charged with misprision of a felony in violation

of 18 U.S.C. § 4. On the basis of the record made at the hearing, I find that defendant is fully

capable and competent to enter an informed plea; that the plea is made knowingly and with full

understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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                I therefore recommend that defendant's plea of guilty to the Superseding Felony

Information be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: May 14, 2010                                     /s/ Ellen S. Carmody
                                                      ELLEN S. CARMODY
                                                      United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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